Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 1 of 14




                  Exhibit 9
          Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 2 of 14




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

               v.                                        Case No. 20 Civ. 2340

  DONALD J. TRUMP, et al.,
                                                         DECLARATION OF DOUGLAS
                          Defendants.                    KELLNER




Pursuant to 28 U.S.C. § 1746(2), I, Douglas Kellner, hereby declare as follows:

          1.    I am over the age of eighteen and have personal knowledge of all the facts stated

herein.

          2.    I have served as a Commissioner and the Co-Chair of the New York State Board

of Elections (“State Board”) since 2005. Before assuming my present position on the State

Board, I was a commissioner of the New York City Board of Elections from 1993 until my

appointment to the State Board in 2005. I also serve as the New York State representative to the

Standards Board of the United States Election Assistance Commission.

                          Background on New York’s Election System

          3.    As of the last official enrollment publication in February 2020, there were

12,971,543 voters registered in New York – 11,701,136 active voters and 1,270,407 inactive

voters.

          4.    New York’s general elections are administered by its 58 bipartisan boards of

elections consisting of a board of elections for each county in the state and a single board of


                                                 1
       Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 3 of 14




elections for New York City, pursuant to Election Law § 3- 200 et seq. The State Board has

significant authority to promulgate policies, regulations and instructions as to the administration

of elections generally, and many of these powers are enumerated in N.Y. Election Law § 3-102.

As provided by Article 9 of N.Y. Election Law, the State Board’s function in the canvass of

ballots is to receive the results of each county’s canvass and tabulate them as to statewide and

cross-county elections.

       5.      New York’s city and county boards of elections are responsible for preparing

ballots, distributing them to voters and canvassing those ballots in accordance with law and any

applicable directive, regulations and policies of the State Board.

       6.      The State Board is comprised of four commissioners, two from each major

political party (defined as the parties that receive the highest and second highest number of votes

for its candidate in the preceding gubernatorial election).

                           Background on New York’s Election Laws

       7.      New York provides three options for voting. A New York voter can cast a ballot

at a polling place on Election Day, N.Y. Elec. Law § 8-300 et seq., vote at an early voting site

over the course of nine days ending on the Sunday before Election Day, N.Y. Elec. Law § 8-600

et seq., or vote by absentee ballot, N.Y. Elec. Law § 8-400 et seq.

       8.      New York law provides for absentee voting as an exception to in-person

voting, available upon application to voters who by reason of disability, illness, absence or being

detained in jail cannot attend the polls. See, e.g., N.Y. Elec. Law§ 8-400 et seq. (civilian

voters); § 10-102 et seq. (military voters); § 11-200 et seq. (overseas voters).

       9.      Absentee ballots can be returned to the voter’s local board of elections either in

person or by mail. In person, an absentee ballot must be delivered to the local board of elections,



                                                  2
       Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 4 of 14




or to the inspectors of elections at a poll site, before the close of polls on Election Day. If

returned by mail, a completed absentee ballot must be mailed to the voter’s local board of

elections, and must arrive either before the close of polls on Election Day, or within seven days

after Election Day provided it has a postmark of not later than the day of the election. For the

November 3, 2020 general election, the postmark deadline is November 3, 2020 and the receipt

deadline is November 10, 2020. N.Y. Elec. Law § 8-412i(1).

        10.     In a typical election, 3% to 10% of participating voters cast absentee ballots. For

example, during the presidential primary of 2016, the number of absentee ballots returned/cast

was 118,578 (157,885 were sent out), which was 4.09% of the 2,892,671 votes cast.

                                   The June 2020 Primary Election

        11.     As part of the response to the ongoing COVID-19 pandemic, legislation and

executive orders significantly expanded access of absentee balloting for the June 23, 2020

primary elections and made the application process and return of ballots easier.                   See e.g.,

Executive Orders 202.15,1 202.23,2 202.26.3 Specifically, New Yorkers may now request an

absentee ballot based on “temporary illness” by reason of “the potential for contraction of the

COVID-19 virus.” Executive Order 202.15;4 codified by Chapter 139 of Laws of 2020 (defining

“illness” as including instances where a voter is unable to appear personally at a polling place

because there is a risk of contracting or spreading a disease-causing illness to the voter or to

other members of the public). Consequently, the number of voters who voted by absentee ballot


1
  Exec. Order No. 202.15 (Apr. 9, 2020), https://www.governor.ny.gov/news/no-20215-continuing-temporary-
suspension-and-modification-laws-relating-disaster-emergency.
2
  Exec. Order No. 202.23 (Apr. 24, 2020), https://www.governor.ny.gov/news/no-20223-continuing-temporary-
suspension-and-modification-laws-relating-disaster-emergency.
3
  Exec. Order No. 202.26 (May 1, 2020), https://www.governor.ny.gov/news/no-20226-continuing-temporary-
suspension-and-modification-laws-relating-disaster-emergency.
4
  Exec. Order No. 202.15 (Apr. 9, 2020), https://www.governor.ny.gov/news/no-20215-continuing-temporary-
suspension-and-modification-laws-relating-disaster-emergency.


                                                      3
       Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 5 of 14




at the June 23, 2020 primary elections was at least six times the number for the same election in

2016, and because some voters received two ballots (one for the presidential primary and one for

a local primary), the number of ballots received by mail and processed by boards of elections

was even more. Based on voter history data provided by counties, nearly 40% of all ballots cast

in the June primary were by absentee.

        12.     Election officials and voters, relying heavily on absentee ballots transmitted by

postal mail, saw significant issues during the June 2020 primary elections.

        13.     For example, according to State Board records, one issue that arose was a

breakdown of the postal processes, primarily in Brooklyn, resulting in more than 4,800 New

Yorkers’ returned absentee ballots not receiving a postmark. Thus, because such ballots did not

meet a legal requirement in the election law, they were initially rejected and not counted in the

election. I have also been made aware through public complaints and communications with

voting rights advocates based in New York that some voters did not receive their absentee ballots

by Election Day. If voters did not receive their absentee ballots in time, they may have missed

the opportunity to vote early because they were waiting for their absentee ballot to arrive in the

mail. If they did not vote absentee, and did not vote early, the only option these voters would

then have is to vote in person at their poll site.

        14.     Due to this, additional voters went to polling places who would not have

otherwise needed to, adding to significant crowds and delays at certain polling sites for in-person

voting. Longer wait times at polling sites is of particular concern to election officials as this

increases the risk of exposure to COVID-19, thereby threatening the health and safety of voters,

voting officials and the larger community.

        15.     Preparing for in-person voting during the ongoing COVID-19 pandemic requires



                                                     4
       Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 6 of 14




significant resources from the State Board and local boards of election, in order to ensure that

individuals who need to vote in person could do so safely. In the weeks and months leading up

to the June 2020 primary, this included ensuring that poll workers had adequate personal

protective equipment to use and distribute to voters at poll sites, spacing out voting equipment

and lines, and other measures, such as relocating poll sites from high-risk locations like nursing

homes and senior residences.

                                The November 2020 General Election

        16.     Looking toward November, New York State has taken many steps to provide

additional avenues to make absentee voting more available at the general election. The State

Board will be relying on the U.S. Postal Service mail system to transmit absentee ballots and

other election materials to an even greater extent.

        17.     For example, Executive Order 202.58 (“EO 202.58”), issued on August 24, 2020,

requires New York’s local board of elections to send an informational mailing to nearly 13

million voters by September 8, 2020 outlining all of their options for voting, including “expected

mail times, if a voter chooses to request an absentee ballot.”5 EO 202.58 also requires the State

Board to “develop a uniform envelope for use by Boards of Elections” for absentee ballots.6 The

State Board may also email accessible ballots to voters with disabilities to vote privately by

absentee ballot. These ballots are all returned by mail. Further, new legislation temporarily

provides that any absentee ballot shall be presumed to be timely even if it does not bear a dated

postmark if such ballot was received and time-stamped by the day after Election Day. See 2020

N.Y. Laws Chapter 140.


5
  Exec. Order 202.58 (Aug. 24, 2020), https://www.governor.ny.gov/news/no-20258-continuing-temporary-
suspension-and-modification-laws-relating-disaster-emergency.
6
  Id.


                                                      5
       Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 7 of 14




           18.     Voters requesting an absentee ballot by mail must make the request no later than

the seventh day before the election, which is October 27, 2020.

           19.     Based on the June 2020 primary and special elections this year, the election

officials expect nearly half of all voters in the November 3, 2020 general election will vote

absentee. This will correspond to millions of votes by mail.

                 New York’s State Board Will Be Harmed by the U.S. Postal Service Delays

           20.     More voters will rely on the U.S. Postal Service for the exercise of their

fundamental right to vote in November’s general election than any election in the state’s history.

Consequently, the State Board will be forced to rely on the U.S. Postal Service more than ever

before.

           21.     Mail delays risk jeopardizing the State Board’s ability to administer elections, by

threatening the timely delivery and return of absentee ballots.

           22.     Because there is no practical alternative to deliver these ballots, the U.S. Postal

Service delays, if unaddressed, may interfere with the State Board’s ability to ensure that every

vote is counted.

           23.     The importance of timely delivery of mail is magnified in light of the pandemic in

which the reason many people are voting absentee is to avoid potential exposure to COVID-19.

           24.     Any U.S. Postal Service delays or inefficiencies will compound the challenges

experienced by the State Board during the June 2020 primary, including the failure of the U.S.

Postal Service to properly postmark absentee ballots, thereby leading to the invalidation of

ballots.

           25.     Board of Elections officials are deeply concerned about the impact that inefficient

and inadequate U.S. Postal Service services may have on the general election. So much so, that

on August 11, 2020, State Board officials contacted Dane Coleman, Vice President for Regional
                                                     6
       Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 8 of 14




Processing Operations, Eastern, at the U.S. Postal Service regarding the U.S. Postal Service’s

plan for administering absentee ballots come November (Ex. 1).

           26.   In this letter, we asked the U.S. Postal Service how they plan to address past

failures in the postmarking, delivery and collection of absentee ballots. Despite the urgency of

these issues, we have not received any response from the U.S. Postal Service to date.

           27.   Election officials fear that U.S. Postal Service delays may lead to voters not

receiving their absentee ballots on time, missing the window for early voting, and then rushing to

vote in-person on Election Day. Like the June 2020 primary elections, election officials must

again devote significant resources to ensure that large numbers of voters, including those who do

not receive their absentee ballots in the mail, can vote safely on Election Day. Election officials

are purchasing personal protective equipment, coordinating staffing and poll site issues, and

intend to space out voting equipment and lines to provide for social distancing.

           28.   Elections officials are gravely concerned about over-crowding and wait times that

could occur due to unexpected increases in in-person voting on Election Day. This eventuality

would not only burden election administration and staffing capacity, but also, threatens the

public health by increasing exposure to COVID-19.



I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true and

correct.



 ___________________________
 DOUGLAS A. KELLNER


 Executed on this 28th day of August, 2020

                                                   7
Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 9 of 14




                  Exhibit 1
Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 10 of 14
Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 11 of 14
Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 12 of 14
Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 13 of 14
Case 1:20-cv-02340-EGS Document 12-12 Filed 09/02/20 Page 14 of 14
